Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 1 of 31




LAW OFFICE OF BERNARD V. KLEINMAN, PLLC
By:    Bernard V. Kleinman, Esq.
       108 Village Square
       Suite 313
       Somers, NY 10589-2305
       Tel. 914.644.6660
       Fax 914.694.1647
       Email: attrnylwyr@yahoo.com
Attorney for Plaintiff

UNITED STATES DISTRICT COURT
DISTRICT OF COLORADO
===================================== :
TANIQUE WRIGHT,                           :
                              Plaintiff,  :                Case No. 20-cv- 2393
                                          :
                                          :
— versus —                                :                COMPLAINT & JURY
                                          :                    DEMAND
                                          :
BALL METALPACK CORP.,                     :
PLATINUM EQUITY,                          :
JANICE RODRIGUEZ, and JOHN DOEs,          :
Individually, Jointly and Severally,      :
                              Defendants. :
===================================== :

         1. Plaintiff, TANIQUE WRIGHT, by way of Complaint, by and through her attorney of

record, Bernard V. Kleinman, an attorney duly admitted to practice before the Bar of this Court,

does hereby aver and allege as follows,

                                 INTRODUCTION & BACKGROUND

         2. In or around April 2019, the named Plaintiff herein, TANIQUE WRIGHT (“WRIGHT”),

a 43 year old African-American female, applied for and was employed as a Director in the Human

Resources Department of the named Defendant BALL METALPACK CORP. (“BALL”), In that

position she reportedly directly to the Vice-President for Human Resources, the named Defendant

JANICE RODRIGUEZ (“RODRIGUEZ”). In that capacity she served diligently and received

multiple kudos both from her employer and her employer’s contractors.

Law Office of Bernard V. Kleinman, PLLC                                               1|Page
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 2 of 31




         3. In or around March 18, 2020 the Plaintiff suffered a stroke and was hospitalized for

several days.

         4. Plaintiff WRIGHT immediately notified her employer, Defendant BALL, and her

supervisor Defendant RODRIGUEZ.

         5. Plaintiff WRIGHT was advised to contact another Director in the Human Resources

Department (“HR”) to apply for benefits to which she was entitled as an employee and under

applicable law.

         6. On March 27th, 2020, barely one week later, without any prior warning, and in total

disregard of the Plaintiff’s medical condition, and no concern for her emotional and psychological

well-being, she was notified, inhumanely, maliciously and cruelly, not by her supervisor

Defendant RODRIGUEZ, but by another Director in Human Resources, that she had been

terminated from her employment.

         7. On or about March 27, 2020 the Plaintiff was offered a severance package, and was

given until April 3rd to decide whether to take it or not; the Plaintiff turned this down as inadequate

compensation and as a violation of applicable law. See Exhibit 1.

         8. On or about March 27, 2020, the Plaintiff filed a Complaint with the Colorado Civil

Rights Division/EEOC. See Exhibit 2.

         9. On August 5th, 2020, the EEOC issued a Right to Sue Letter. See Exhibit 3.

                                             PARTIES

         10. Plaintiff TANIQUE WRIGHT is a 43 year old female, of African-American race.

         11. Defendant BALL METALPACK CORP., (previously organized under the name of Ball

Corporation) is a corporation organized under the laws of the State of Indiana, with its headquarters

and main office located at 8001 Arista Place, Bloomfield, CO 80021.


Law Office of Bernard V. Kleinman, PLLC                                                     2|Page
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 3 of 31




         12. At all relevant times, BALL has continuously been an employer engaged in an industry

affecting commerce within the meaning of Section 701(b), (g) and (h) of Title VII, 42 U.S.C. §§

2000e-(b), (g) and (h); the Age Discrimination in Employment Act, 29 U.S.C. § 630(b); the Family

and Medical Leave Act, 29 U.S.C. §§ 2611(2)A), (4)(A)(i); the Civil Rights Act, 42 U.S.C. §

2000e; the Americans with Disabilities Act, 42 U.S.C. § 12111(4), (5)(A); the Colorado Fair

Employment Practices Act, C.R.S. § 24-34-402(7); and all other relevant statutes as cited herein.

         13. Upon information and belief, Defendant BALL, is a wholly owned business entity of

Defendant PLATINUM EQUITY (“PLATINUM”), a private equity investment firm, with

headquarters located 360 N. Crescent Dr., Beverly Hills, CA 90210.

         14. Upon information and belief Defendant PLATINUM EQUITY acquired a managerial

controlling interest in Defendant BALL in or around June 21, 2018, through the investment vehicle

of Platinum Equity Capital Partners IV. See Exhibit 4.

         15. Defendant JANICE RODRIGUEZ is, upon information and belief, a Caucasian female,

and, for all times relevant herein, served as the Vice-President for Human Resources and Legal

Affairs for Defendant BALL METALPACK CORP.

         16. Upon information and belief, Defendant RODRIGUEZ is a resident of the County of

Adams, State of Colorado.

         17. Defendants JOHN DOEs are employees, staff, managers, and other personnel of

Defendant BALL who knowingly, and intentionally, engaged in conduct that violated the civil

rights of the named Plaintiff by executing and following the unlawful directions and orders of the

named Defendants BALL, RODRIGUEZ, and PLATINUM.




Law Office of Bernard V. Kleinman, PLLC                                                 3|Page
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 4 of 31




                                          JURISDICTION & VENUE

         18. Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331 and 1343. This

action is authorized and instituted pursuant to Title VII of the Civil Rights Act of 1964, as amended

(“Title VII”), 42 U.S.C. § 2000e et seq.; Section 102 of the Civil Rights Act of 1991, 42 U.S.C. §

1981(a); the Age Discrimination in Employment Act (“ADEA”), as amended by the Older

Workers Benefit Protection Act (“OWBPA”), 29 U.S.C. § 623(a), which incorporates by reference

Section 216 of the Fair Labor Standards Act of 1938 (the “FLSA”), as amended, 29 U.S.C. § 216;

the Family and Medical Leave Act of 1993, 29 U.S.C. § 2614; the Americans with Disabilities

Act, 42 U.S.C. § 12102 et seq.; and, the Colorado Fair Employment Practices Act (Colo. Rev. Stat.

(“CRS”) § 24-34-402.

         19. Plaintiff further invokes the pendent and supplemental jurisdiction of this Court to hear

and decide claims arising under state law pursuant to 28 U.S.C. § 1367.

         20. The incidents which give rise to this cause of action occurred within this jurisdiction,

the District of Colorado, and within three years of the filing of this Complaint.

         21. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1), (b)(2), as amended

by Section 311 of the Judicial Improvement Act of 1990, by reason of it being the location where

all, or substantially all, of the events or omissions giving rise to the claims occurred, and where

one or more, upon information and belief, of the Defendants reside.

         22. Plaintiff seeks attorney fees and costs pursuant to 42 U.S.C. § 1988.

         23. Plaintiff seeks both compensatory and punitive damages under 42 U.S.C. § 1981a.

         24. More than thirty days prior to the institution of this lawsuit, Plaintiff WRIGHT filed a

charge of discrimination with the Colorado Department of Civil Rights (“CCRD”), and the United




Law Office of Bernard V. Kleinman, PLLC                                                     4|Page
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 5 of 31




States Equal Employment Opportunity Commission (“EEOC”) alleging violations of Title VII,

and the ADEA, and violations of federal and state Civil Rights laws. See Exhibit 2.

         25. On or about March 27, 2020, WRIGHT filed a charge of discrimination with the

CCRD/EEOC, charge number 541-2020-01829, alleging unlawful employment practices

occurring within three hundred days or less from the date of filing the charge. See Exhibit 2.

         26. On or about August 5th, 2020, WRIGHT received a Notice of Right to Sue on charge

EEOC Charge No. 541-2020-01829. See Exhibit 3.

     ADDITIONAL RELEVANT FACTS MATERIAL TO ALL CAUSES OF ACTION

         27. The Plaintiff, WRIGHT, is an African-American female, born in 1977 (and thus over

the age of forty). She graduated from Colorado Technical University, in 2008, with degrees in

Information Technology and Management Information Systems. Among her positions, prior to

being em-ployed by Defendant BALL, she worked in human resources in a number of companies,

including Jabil, Inc., Intuit, and Comcast.

         28. Immediately prior to being employed by BALL, in April 2019, she served as the Vice

President for Human Resources at Professional Bull Riders with a salary of $127,000. Induced to

come to BALL based upon representations as to her autonomy, the outward diversity of the

company, the opportunity to expand her acumen and train it on BALL, she entered this employ-

ment with BALL with the full intent to remain there for as long as she could.

         29. When Plaintiff applied for this position she was interviewed by Douglas Hedges, the

then Vice President for Human Resources (“HR”) at BALL.

         30. She was hired as Director of Talent Management, and reported directly to Defendant

JANICE RODRIGUEZ (“RODRIGUEZ”), the corporate successor to Douglas Hedges at BALL.




Law Office of Bernard V. Kleinman, PLLC                                                 5|Page
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 6 of 31




         31. Upon information and belief, although RODRIGUEZ has a Hispanic name, she is

Caucasian, and it is her husband, who is Hispanic, and, upon information and belief, Mexican by

birth.

         32. RODRIGUEZ, herself, reported to the President of the company, James Peterson (also

Caucasian).

         33. In Plaintiff’s Department (i.e., Human Resources) there were five additional Managers

or Directors, all of whom reported either directly or indirectly to Defendant RODRIGUEZ. These

were:

                  Colleen Callies (Director of HR Operations) — Reported to Defendant

                           RODRIGUEZ

                  Jennifer Baker (Corporate HR Manager) – Reported to Colleen Callies

                  Sean Ochs (HR Generalist) – Reported to Colleen Callies

                  Sarah King (Director of Total Rewards) — Reported to Defendant RODRIGUEZ

                  Julie Stiles (Payroll Manager) — Reported to Sarah King (White)

         34. All five of these persons are white — Plaintiff WRIGHT being the only person of color

in a Director position in the HR Department at BALL.

         35. Indeed, upon information and belief, BALL has several thousand employees, and more

than ten locations in the United States, and the Plaintiff was either the sole, or one of a very, very

small handful of African-American managers.

         36. At the time Plaintiff WRIGHT was hired she informed Defendant RODRIGUEZ that

she did have some medical issues, and that based upon where she lived, at the time, (Monument,

CO) and the BALL office in Broomfield, CO (a distance of about 70 miles on I-25) she would like

to know whether, on rare occasions typified by bad weather, she could work remotely from home.


Law Office of Bernard V. Kleinman, PLLC                                                    6|Page
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 7 of 31




Her ability to work remotely being a significant inducement to take the job with BALL, a factor

discussed with Douglas Hedges, and to which, upon information and belief, RODRIGUEZ, was

well aware.

         37. The Plaintiff was informed, by RODRIGUEZ, that this would not be an issue

whatsoever.

         38. However, once Plaintiff commenced working at BALL, she was informed otherwise,

and that her failure to show up, in the office, even on bad weather days, when I-25 was treacherous,

would reflect poorly on her.

         39. On June 7th, 2019 Defendant RODRIGUEZ sent an email to the Plaintiff the subject

which was “Work from Home & Flexible Scheduling”. See Exhibit 5. In this email RODRIGUEZ

stated the policy of Defendant BALL that

                  In general, it is our policy that managers can offer, at their discretion,
                  occasional work from home arrangements for employees to accommodate
                  ad hoc circumstances only (i.e., due to inclement weather . . .

         40. On October 23rd, 2019 the Plaintiff emailed RODRIGUEZ, informing her that due to a

forecast of 10” of snow, she would be working from home the next day. 1 The emailed response

of RODRIGUEZ was

                  That’s fine if the weather’s bad, but let’s talk about his next time we are
                  both in the office.
         See Exhibit 6.

         41. On October 30th, 2019 the Plaintiff received an email from RODRIGUEZ, criticizing

her work habits, and specifying the alleged (uncorroborated) issue that



1 According to Accuweather.com, from October 24 through October 30, 2019, more than fifteen
inches of snow fell in Monument, CO, where the Plaintiff resided at that time. See
https://www.accuweather.com/en /us/monument/80132/october-weather/347703?year=2019
&view=list

Law Office of Bernard V. Kleinman, PLLC                                                   7|Page
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 8 of 31




                  I wanted you to be aware that I received feedback/comments regarding your
                  absence from the office.
         See Exhibit 7.

         42. At a subsequent in-person meeting between the Plaintiff and RODRIGUEZ, the

Plaintiff inquired as to whether RODRIGUEZ was also questioning the absence of J.R. a Manager

for Treasury, who had been permitted to work from home one day a week because he lived one

hour from the office. Significantly, and consistent with the disparate treatment accorded African-

Americans, Mr. J.R. is not African-American.

         43. Defendant RODRIGUEZ than promised to look into the issue, but never responded to

the Plaintiff.


         44. Plaintiff WRIGHT was hired at a salary of $119,999 per annum.

         45. Although she held the position of “Director”, she was, upon information and belief, the

only person of color, with the title of Director, and, of the Twenty-One persons with the title of

Director, she was the lowest paid — the next highest paid earning $16,000 a year more than her,

and some Directors earning as much as almost $90,000 more than her.

         46. Among those earning well in excess of her — all of whom are Caucasian — were (but

are not limited to) the Director for IT Applications [Camille Gross-Rhode, earning $145,000],

Director for Supply Chain [Scott Gabel, earning $135,000], Director for Sales [James Fox, earning

$147,000], Director for Operations [James Pontiff, earning $145,000], Director for Accounting

[Tara Cronin, earning $170,000], and the Director for Commercial Finance [Sarina Fiore, earning

$140,000].

         47. In the HR Department, itself, not only was she the sole African-American, but she was

the lowest paid Director, her fellow Directors/Managers earning anywhere from $135,000 to

$140,000 per annum — no one, save the Plaintiff, earning $119,999.

Law Office of Bernard V. Kleinman, PLLC                                                   8|Page
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 9 of 31




         48. Indeed, upon information and belief, the only other African-American Human

Resources Manager or Director was a manager in the Ohio plant of Defendant BALL.

         49. In addition to that pay disparity, when hired Plaintiff was informed that she was to

receive two weeks of paid vacation per annum. Plaintiff later on discovered that the other

Directors (who were Caucasian) all were receiving three weeks of paid holiday per annum.

         50. In her position the Plaintiff successfully performed her duties throughout her

employment, having created several programs to manage subjects like performance and vendors,

created training programs, as well as renegotiated their recruitment contract, saving BALL about

half a million dollars.

         51. Indeed, up until the onset of her medical condition, WRIGHT’s job performance was

exemplary, described, for example, in emails from Defendant RODRIGUEZ and other executives

as “HOORAY!! Great job.”, and “Fantastic[,] Tanique! Great job.”, and “Great job on this.” See

Exhibit 8.

         52. On or about March 18, 2020, the Plaintiff had a massive stroke which rendered her with

a disability (as defined within the meaning of the Americans with Disabilities Act).

         53. The Plaintiff was hospitalized for a period of two days. As soon as she was capable of

doing so, she reported this to the Vice President of Human Resources, Defendant RODRIGUEZ,

in a cell phone call at approximately 8 a.m. on March 19 th.

         54. In that telephone call, WRIGHT advised RODRIGUEZ of her intent to file for leave

under the Family and Medical Leave Act (“FMLA”), and apply for Short Term Disability (“STD”)

benefits.

         55. Defendant RODRIGUEZ responded, in sum and substance, that WRIGHT need not

worry about work and should, instead, concentrate on getting better. No mention was ever made


Law Office of Bernard V. Kleinman, PLLC                                                  9|Page
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 10 of 31




regarding any need, plan, or possibility of the Plaintiff being terminated from her position at

BALL.

         56. Upon information and belief, Defendant RODRIGUEZ, delegated the responsibility of

providing the Plaintiff with the necessary forms and information regarding FMLA leave and STD

benefits.

         57. For several days, to the Plaintiff’s dismay, she received difficult and evasive assistance

from Defendant BALL, its employees, staff, and her supervisor, Defendant RODRIGUEZ.

         58. On March 25th, 2020 Plaintiff WRIGHT received an email from Sara King, the Director

of Total Rewards at Defendant BALL, operating with the knowledge and at the direction of

Defendant RODRIGUEZ, and on behalf of Defendant BALL, in which Ms. King stated that she

would contact Sean Ochs, a HR Generalist, and have him send all of the necessary information

and forms to apply for all benefits due the Plaintiff.

         59. Based upon the subsequent actions, and upon information and belief, operating with

the knowledge and at the direction of Defendant RODRIGUEZ, and on behalf of Defendant

BALL, Ms. King never did this, and, again, intentionally and purposely, misled the Plaintiff.

         60. In addition thereto, upon information and belief, in further knowing and intentional

disregard for the rights of the Plaintiff, and in direct violation of the Plaintiff’s rights under the

privacy provisions of the Health Insurance Portability & Accountability Act, and relevant state

law, confidential medical information regarding the Plaintiff’s medical condition was passed

around the company, including to individuals who had neither the right to have access to such

information, nor the job requirement to have access to such information.

         61. On the next day, March 26th, Plaintiff WRIGHT returned to the hospital for further

medical treatment.


Law Office of Bernard V. Kleinman, PLLC                                                    10 | P a g e
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 11 of 31




         62. Despite the unequivocal representations as made above, without any prior warning or

notice and without any justifiable cause, and with malicious intent guided only by a desire to

engage in unlawful discriminatory behavior towards an African-American woman, over the age of

forty, on or about March 27, 2020, the Plaintiff, TANIQUE WRIGHT, was informed that her

position, at Defendant BALL had been eliminated. This notification was made notwithstanding

the fact that the position had been in existence prior to her being hired for it, and there being no

indication whatsoever, prior to the Plaintiff suffering a stroke, that such position elimination was

planned for, or even contemplated.

         63. This notice of position elimination was communicated to the Plaintiff, by Colleen

Callies, the Director of HR Operations, upon information and belief, operating with the knowledge,

and at the direction of, Defendant RODRIGUEZ, and on behalf of Defendant BALL.

         64. Ms. Callies, upon information and belief, operating with the knowledge, and at the

direction of, Defendant RODRIGUEZ, and on behalf of Defendant BALL, who was fully informed

as to the nature of the Plaintiff’s medical condition, and recent onset of this condition, nevertheless,

with total disregard for the likely medical ramifications — both physiological and psychological

— upon the Plaintiff, who had suffered a stroke less than two weeks’ prior thereto, heartlessly,

callously and with presumed malice, informed the Plaintiff of her employment termination.

         65. As a demonstration of the total disregard for the well-being and likely medical impact

upon the Plaintiff, the Defendant RODRIGUEZ, chose not to impart this information to the

Plaintiff herself, but to delegate it to one of her staff, and furthermore, such action demonstrated a

callous and calculated disregard for the well-being of the Plaintiff, and complete derogation of her

rights under federal, state and common law as set forth herein, and that such behavior could clearly

and indisputably be imputed to Defendant BALL.


Law Office of Bernard V. Kleinman, PLLC                                                     11 | P a g e
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 12 of 31




         66. Following this notice of termination, the Plaintiff was offered a severance package, but,

in violation of the Older Workers Benefits Protection Act, she was only given only one (1) week

to consider it before the offer was voided. As set forth in the Agreement,

                  This Agreement shall be void and of no effect unless received by Colleen
                  Callies on or before April 3, 2020.
         See Exhibit 1, at ¶ 13.

         67. As further evidence of the disparate treatment that the Plaintiff received, based upon

her race, age, and other recognized discriminatory factors, upon information and belief, in or

around December 2019 the then Director of Total Rewards (K.C.) was also separated and replaced

after she had been rendered with a disability. Significantly, Ms. C. (ethnically Caucasian) was

allowed to stay employed while she trained her replacement (Sara King — also Caucasian), and

was offered over three (3) weeks to consider her severance agreement.

         68. Throughout the Plaintiff’s employment with Defendant BALL, and the time she was

reporting to Defendant RODRIGUEZ, she was the only African-American Director, and also the

lowest paid person in her job category.

         69. Defendant PLATINUM, upon information and belief, sets the employment policies,

procedures, and guidelines, for all of the business entities which it controls, including Defendant

BALL.

         70. Defendant PLATINUM states, in its published “Business Practices”, the following:

                 We try to create value in any acquisition we make by focusing on stability
             throughout the transaction. We protect vital business interests like customers,
             employees, and the supply chain; . . .
       https://www.platinumequity.com/practices

         71. This self-aggrandizing statement is belied by its actual business practices and policies,

and the manner in which Defendant PLATINUM exercises supervisory authority over its

properties, including Defendant BALL.
Law Office of Bernard V. Kleinman, PLLC                                                   12 | P a g e
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 13 of 31




         72. The evidence of this hypocritical statement is not only the treatment of the named

Plaintiff herein, but also the fact that in the Plaintiff’s former capacity as Director of Talent

Management, WRIGHT had proposed a Diversity and Inclusion Program. She had suggested a

budget for this project of the paltry sum of $12,000 for the entire calendar year of 2020, to not only

focus on racial diversity, but also to celebrate such things as International Women’s Month (i.e.,

March).      Upon information and belief, this was turned down on orders from Defendant

PLATINUM.

         73. On or about March 27, 2020 the Plaintiff filed a Complaint with the Colorado Civil

Rights Division/EEOC. See Exhibit 2.

         74. On August 5th, 2020, the EEOC issued a Right to Sue Letter. See Exhibit 3.

              SUMMARY OF CLAIMS UPON WHICH RELIEF IS DEMANDED

         75. Violation of the Civil Rights Act of 1866, 42 U.S.C. § 1981, et seq. — As set forth

above, the individual who hired Plaintiff WRIGHT (Hedges) was let go shortly after her being

hired. She then reported to Defendant RODRIGUEZ. Both BALL and RODRIGUEZ, along with

PLATINUM (as the owner of BALL), along with other named and un-named management

employees, individually and conspiratorially (i.e., Defendants JOHN DOEs), engaged in unlawful

discriminatory conduct that led to her discharge.

         76. Violation of tit. VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-2, et seq. — as

with the Section 1981 charge Plaintiff WRIGHT has clearly set forth the bases for actionable

conduct directed against her based upon her race (African-American), as clearly demonstrated by

her disparate discriminatory treatment by the named Defendants.

         77. Violation of the Family and Medical Leave Act of 1993, 29 U.S.C. § 2614, et seq. —

the failure of Defendant BALL, acting through Defendant RODRIGUEZ (and other named and


Law Office of Bernard V. Kleinman, PLLC                                                   13 | P a g e
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 14 of 31




un-named parties; Defendants JOHN DOEs), in carrying out the directed policies of Defendant

PLATINUM to provide benefits under the FMLA. While Plaintiff WRIGHT was not an employee

for one year, as set forth under Section 2611(2)(a)(i), the purposeful, intentional, and directed

action in discharging her with merely four days prior to her one year anniversary, demonstrates

actionable conduct, not only by Defendants BALL and RODRIGUEZ, but also in carrying out the

profit directed policies of Defendant PLATINUM. The disparate treatment that the Plaintiff

received is demonstrated by the fact that a Caucasian female employee, P.R. (who held the position

of Assistant Controller), and was hired on January 21, 2019, had been granted FMLA benefits

prior to her reaching her one year anniversary. P.R. gave birth prior to her date of hire, which,

under the law meant that she should not have been eligible for FMLA, and Defendant BALL’s

own Leave Policy. See Exhibit 10. However, incredibly, and in direct contrast to the treatment

received by the Plaintiff, she was allowed to take FMLA because her return date to work (3 months

later) was after her one year statutory requirement.

         78. This reprehensible behavior by all named Defendants — BALL, RODRIGUEZ, and

PLATINUM — demonstrates actionable malice.

         79. Violation of the Age Discrimination in Employment Act (“ADEA”), as amended by

the Older Workers Benefit Protection Act (“OWBPA”), 29 U.S.C. § 623(a), et seq. — Plaintiff

WRIGHT is over the age of forty, and is entitled to benefits and protections under the OWBPA,

specifically certain terms of severance. These terms of severance were clearly violated by the

direct actions of Defendants BALL and RODRIGUEZ (among others), and indirectly operating at

the behest of Defendant PLATINUM, in the manner and form in which she was offered a severance

package and the terms thereof.




Law Office of Bernard V. Kleinman, PLLC                                                14 | P a g e
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 15 of 31




         80. Violation of the Americans with Disabilities Act (“ADA”), 42 U.S.C. §§ 12102(1)(A),

(4)(E)(i), et seq. — Defendant BALL violated the ADA by (a) not providing a reasonable

accommodation for Plaintiff WRIGHT to be able to continue in her position as a HR Director, and

(b) Plaintiff WRIGHT was not offered the opportunity to take a paid medical leave.

         81. Violation of various Colorado State Laws — these protect employees, such as Plaintiff

WRIGHT, from age and race discrimination, under the Colorado Fair Employment Practices Act

(Colo. Rev. Stat. (“CRS”) § 24-34-402), Colorado Age Discrimination Statute (same), Colorado

Disability Discrimination Statute (same), as actionable as against Defendants BALL and

RODRIGUEZ, as against Defendant PLATINUM, and as against Defendants JOHN DOEs.

         82. Breach of Contract — while Plaintiff WRIGHT, did not have a personal services

contract with Defendant BALL, nor was he ever provided with any employee handbook that may

exist. Both Defendant BALL and Defendant PLATINUM set forth terms of employment that

created a binding contractual relationship between the Plaintiff WRIGHT and the named

Defendants.      The websites for both Defendant BALL and Defendant PLATINUM contain

language such as that set forth in Defendant BALL’s “Ethics Code of Conduct”. This Code of

Conduct specifically provides that the company “do[es] not tolerate . . . discrimination . . . with

respect to . . . race . . . age . . . disability . . .” See Exhibit 9. The Code of Conduct contains no

contractual limiting language precluding it from imposing a contractual relationship between

employees (such as Plaintiff WRIGHT) and Defendants BALL and PLATINUM, and is thus

actionable under its terms. Cf., Allabashi v. Lincoln National Sales Corp. of Colorado-Wyoming,

824 P.2d 1, 3 (Colo. App. 1991). As there is no limitation on the contractual language therein, the

failure of Defendant BALL (acting through its agent RODRIGUEZ) in discriminating against

Plaintiff WRIGHT, on the basis of age, and race, are actionable.


Law Office of Bernard V. Kleinman, PLLC                                                   15 | P a g e
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 16 of 31




         83 Other tortious conduct — The named Defendants, based on the allegations set forth

herein, further established the elements for causes of action, for which the law provides money

damages, including, but not limited to, violation of the privacy rights of the Plaintiff, fraudulent

inducement, fraud, and other causes of action as set forth herein.

                             AS AND FOR A FIRST CAUSE OF ACTION
         Violation of the Civil Rights Act of 1866, 42 U.S.C. § 1981, et seq. — as Against
            Defendants BALL METALPACK, JANICE RODRIGUEZ, PLATINUM
                                    EQUITY, and JOHN DOEs

         84. Plaintiff TANIQUE WRIGHT repeats, re-iterates and re-alleges ¶¶ 1 through 83, as if

set forth herein, and incorporates herein all such facts and allegations as are relevant herein to this

First Cause of Action.

         85. The actions of the named Defendants, jointly and severally, constituted “adverse

employment actions”, such that (a) the Plaintiff belongs to a protected class, (b) the Plaintiff has

suffered an adverse employment action, and (c) the adverse action occurred under circumstances

giving rise to an inference of discrimination. E.E.O.C. v. PVNF, L.L.C., 487 F.3d 790, 800 (10th

Cir. 2007).

         86. The Plaintiff is an African-American female, and is thus a member of a protected class.

         87. As set forth above (passim), and incorporated herewith ¶¶ 91 through 103, supra, the

Plaintiff suffered multiple adverse employment actions based upon her protected class status.

         88. The actions of the named Defendant BALL, and its supervisory parent Defendant

PLATINUM, acting by, through and with the full knowledge, of its agent Defendant

RODRIGUEZ, and Defendants JOHNDOEs, all took place in the employment context of the

Plaintiff WRIGHT, giving rise to an inference of discrimination.

         89. This reprehensible discriminatory conduct by all named Defendants — BALL,

RODRIGUEZ, PLATINUM, and JOHN DOEs — demonstrates actionable malice, for which
Law Office of Bernard V. Kleinman, PLLC                                                    16 | P a g e
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 17 of 31




damages pursuant to the statute, to lost wages and other compensatory damages, plus interest, in

an amount of not less than $5,000,000, in addition to punitive and exemplary damages, in an

amount of not more than $10,000,000.00.

                           AS AND FOR A SECOND CAUSE OF ACTION
          Violation of tit. VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-2, et seq.
             — as Against Defendants BALL METALPACK, JANICE RODRIGUEZ,
                               PLATINUM EQUITY, and JOHN DOEs

         90. Plaintiff TANIQUE WRIGHT repeats and re-iterates ¶¶ 1 through 89, as if set forth

herein, and incorporates herein all such facts and allegations as are relevant herein to this Second

Cause of Action.

         91. Tit. VII of the 1964 Civil Rights Act precludes discriminatory behavior by an employer

based upon race. 42 U.S.C. § 2000e(a)(1).

         92. Defendant BALL, acting by and through its designated agent Defendant RODRIGUEZ,

along with Defendants JOHN DOEs, and with the full acquiescence of Defendant PLATINUM,

engaged in unlawful disparate discriminatory conduct in the treatment of Plaintiff WRIGHT.

         93. Plaintiff WRIGHT was the only African-American female at the corporate office in

Broomfield, CO out of eighty employees.

         94. Plaintiff WRIGHT was the only African-American Director in the company.

         95. Plaintiff WRIGHT was the lowest paid Director not only in the Human Resources

Department, but also the lowest paid Director in the entire company.

         96. Plaintiff WRIGHT earned a salary of $120,000 per annum; her Caucasian peers all

earned more money than that. For example, Colleen Callies, Director of HR Operations earned

$137,000 per annum; Larissa Kirkland, Senior Counsel, earned $140,000 per annum; and Sarah

King, Director of Total Rewards, earned $135,000 per annum.



Law Office of Bernard V. Kleinman, PLLC                                                   17 | P a g e
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 18 of 31




         97. Plaintiff WRIGHT was given five days to review her separation agreement while her

white peer K.C. (previous Director of Total Rewards who was terminated in January 2020) was

given three weeks, plus additional time after her accident.

         98. When hired, Plaintiff WRIGHT was only given two weeks of vacation as a Director

while white Directors were given Three to Four weeks of vacation when hired.

         99. Although Plaintiff WRIGHT was hired in April 2019, just one year later she was

discharged supposedly on the basis that the position had been eliminated, despite the fact that her

Director position had been one that had existed in the company for many years’ past.

         100. Plaintiff WRIGHT suggested creating a Diversity Committee to Defendant

RODRIGUEZ, and was told the company could create the committee, and Plaintiff WRIGHT

could sit on the board, however, incredibly, in a wanton disregard for Defendant’s BALL’s

obligations under the Civil Rights Act, specifically precluded Plaintiff WRIGHT — the sole

African-American Director — from being the named Leader of the group, notwithstanding her

Director status in the HR Department.

         101. Defendant RODRIGUEZ, subsequently informed Plaintiff WRIGHT that there was

no budget for such a committee because Defendant PLATINUM did not think it was important

enough.

         102. For Black History Month it was decided to hang photos of African-Americans who

made a difference and contribution to American society. The Horsham, PA manufacturing plant

of Defendant BALL received complaints and they wanted the local Human Resources Department

to remove these posters because they believed that Defendant BALL did not care about black

employees. Instead of investigating this matter, neither Defendant RODRIGUEZ, nor Defendants

JOHN DOEs merely ignored the issue.


Law Office of Bernard V. Kleinman, PLLC                                                 18 | P a g e
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 19 of 31




         103. These acts, along with those set forth above, clearly and unmistakably set forth a

pattern of discriminatory behavior by the named Defendants.

         104. This reprehensible discriminatory conduct by all named Defendants — BALL,

RODRIGUEZ, PLATINUM, and JOHN DOEs — demonstrates actionable malice, for which

damages pursuant to the statute, to lost wages and other compensatory damages, plus interest, in

an amount of not less than $5,000,000, in addition to punitive and exemplary damages, in an

amount of not more than $10,000,000.00.

                         AS AND FOR A THIRD CAUSE OF ACTION
         Violation of the Family and Medical Leave Act of 1993, 29 U.S.C. § 2614, et seq.
             — as Against Defendants BALL METALPACK, JANICE RODRIGUEZ,
                             PLATINUM EQUITY, and JOHN DOEs

         105. Plaintiff TANIQUE WRIGHT repeats and re-iterates ¶¶ 1 through 104, as if set forth

herein, and incorporates herein all such facts and allegations as are relevant herein to this Third

Cause of Action.

         106. Defendant BALL, acting through Defendant RODRIGUEZ (and other named and un-

named parties, Defendants JOHN DOEs), in carrying out the directed policies of Defendant

PLATINUM knowingly and intentionally failed to provide benefits under the FMLA. While

Plaintiff WRIGHT was not an employee for one year, as set forth under Section 2611(2)(a)(i), the

purposeful, intentional, and directed action in discharging her with merely four days prior to her

one year anniversary, demonstrates actionable conduct, not only by Defendants BALL and

RODRIGUEZ, but also in carrying out the profit directed policies of Defendant PLATINUM.

         107. The disparate treatment that the Plaintiff received is demonstrated by the fact that a

Caucasian female employee, P.R. (who held the position of Assistant Controller), and was hired

on January 21, 2019, had been granted FMLA benefits prior to her reaching her one year

anniversary. P.R. gave birth prior to her date of hire, which, under the law meant that she should

Law Office of Bernard V. Kleinman, PLLC                                                  19 | P a g e
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 20 of 31




not have been eligible for FMLA. However, incredibly, and in direct contrast to the treatment

received by the Plaintiff, she was allowed to take FMLA because her return date to work (3 months

later) was after her one year statutory requirement.

         108. This reprehensible discriminatory conduct by all named Defendants — BALL,

RODRIGUEZ, PLATINUM, and JOHN DOEs — demonstrates actionable malice, for which

damages pursuant to 42 U.S.C. § 2617(a)(1)(A)(I), equal to lost wages and other compensatory

damages,, plus interest, in an amount of not less than $5,000,000, in addition to punitive and

exemplary damages, in an amount of not more than $10,000,000.00.

                        AS AND FOR A FOURTH CAUSE OF ACTION
         Violation of the Age Discrimination in Employment Act (“ADEA”), as amended
          by the Older Workers Benefit Protection Act (“OWBPA”), 29 U.S.C. § 623(a),
         et seq. — as Against Defendants BALL METALPACK, JANICE RODRIGUEZ,
                            PLATINUM EQUITY, and JOHN DOEs

         109. Plaintiff TANIQUE WRIGHT repeats and re-iterates ¶¶ 1 through 108, as if set forth

herein, and incorporates herein all such facts and allegations as are relevant herein to this Fourth

Cause of Action.

         110. The Plaintiff, over the age of forty at the time of the Defendants’ conduct, is entitled

to rights as set forth by the Age Discrimination in Employment Act (“ADEA”), as amended by the

Older Workers Benefit Protection Act (“OWBPA”), 29 U.S.C. §§ 623(a), 631(a).

         111. Pursuant to the ADEA/OWBPA the Plaintiff is entitled to a 21-day period in which

to consider any severance agreement that waives the employee’s rights under the OWBPA. 29

C.F.R. § 1625.22(e)(1). See Exhibit 1, at ¶¶ 2.2, 2.9, 9.2.

         112. The Severance Agreement provided to the Plaintiff, on or about March 27, 2020,

provided that

                  This Agreement shall be void and of no effect unless received by Colleen
                  Callies on or before April 3, 2020.
Law Office of Bernard V. Kleinman, PLLC                                                   20 | P a g e
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 21 of 31




         See Exhibit 1, at ¶ 13.

         113. This limited time period violated the ADEA/OWBPA, for which the Plaintiff is

entitled to damages of lost wages of $5,000,000 and other compensatory damages, plus liquidated

damages as deemed appropriate.

         114. These terms of severance were clearly violated by the direct actions of Defendants

BALL, RODRIGUEZ, PLATINUM, and JOHN DOES, in the manner and form in which she was

offered a severance package and the terms thereof.

                        AS AND FOR A FIFTH CAUSE OF ACTION
             Violation of the Americans with Disabilities Act (“ADA”), 42 U.S.C. §§
          12102(1)(A), (4)(E)(i), et seq. — as Against Defendants BALL METALPACK,
                JANICE RODRIGUEZ, PLATINUM EQUITY, and JOHN DOEs

         115. Plaintiff TANIQUE WRIGHT repeats and re-iterates ¶¶ 1 through 114, as if set forth

herein, and incorporates herein all such facts and allegations as are relevant herein to this Fifth

Cause of Action.

         116. On or about March 18, 2020 the Plaintiff WRIGHT suffered a stroke, affecting her

major life activities including, but are not limited to, the ability to care for herself, perform manual

tasks, seeing, hearing, eating, sleeping, walking, standing, lifting, bending, speaking, breathing,

learning, reading, concentrating, thinking, communicating, and working.

         117. As such the Plaintiff had suffered a “disability” within the definition of the ADA. 42

U.S.C. § 12102(1), (2), (4).

         118. As such the Plaintiff was entitled to a “reasonable accommodation”, to be offered by

her employer, Defendant BALL, by and through its agents, Defendant RODRIGUEZ, and

Defendants JOHN DOEs, and as effected by Defendant PLATINUM, so that she “can perform the

essential functions of [her] employment position”. 42 U.S.C. § 12111(8), (9).



Law Office of Bernard V. Kleinman, PLLC                                                     21 | P a g e
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 22 of 31




         119. Rather than provide this “reasonable accommodation”, the named Defendants chose

to unlawfully discharge the Plaintiff from her employment. See ¶¶ 64 through 67 supra.

         120. Furthermore, not only was the Plaintiff not offered any “reasonable accommodation”

due to her disability (notwithstanding that a Caucasian employee who suffered a disability had

been offered such an accommodation, see ¶ 67 supra), but the named Defendants, jointly and

severally, did not even permit the Plaintiff the opportunity to request and/or suggest such an

accommodation.

         121. Furthermore, and in violation of the ADA, the Plaintiff was never offered any Leave

of Absence, Part-Time Employment, or Re-assignment.

         122. In further violation of the ADA, per Defendant BALL’s Leave of Absence policy at

pp. 7-8, Plaintiff WRIGHT could have taken an unpaid leave during this time saving her position,

however, this option was never offered to her. See Exhibit 10.

         123. These actions of the named Defendants constituted both individually, and in totality,

discriminatory conduct under the ADA. 42 U.S.C. § 12112(a), (b)(5)(A)-(B).

         124. This reprehensible discriminatory conduct by all named Defendants — BALL,

RODRIGUEZ, PLATINUM, and JOHN DOEs — demonstrates actionable malice and discrim-

inatory behavior, for which damages, equal to lost wages and other compensatory damages,, plus

interest, in an amount of not less than $5,000,000, and punitive and exemplary damages in an

amount of not more than $10,000,000.00.




Law Office of Bernard V. Kleinman, PLLC                                                 22 | P a g e
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 23 of 31




                         AS AND FOR A SIXTH CAUSE OF ACTION
            Violation of the Colorado Fair Employment Practices Act (Colo. Rev. Stat.
         (“CRS”) § 24-34-402) — as Against Defendants BALL METALPACK, JANICE
                     RODRIGUEZ, PLATINUM EQUITY, and JOHN DOEs

         125. Plaintiff TANIQUE WRIGHT repeats and re-iterates ¶¶ 1 through 124, as if set

forth herein, and incorporates herein all such facts and allegations as are relevant herein to this

Sixth Cause of Action.

         126. The Colorado Fair Employment Practices Act (Colo. Rev. Stat. (“CRS”) § 24-34-402

precludes an employer from engaging in discriminatory conduct based upon race, age, and other

recognized protected statuses (e.g., religion, national origin, etc.).

         127. As a necessary predicate the Plaintiff (without the benefit of counsel) filed a claim of

discrimination with the Colorado Civil Rights Division (“CCRD”). See Exhibit 2.

         128. On August 5th, 2020, the EEOC issued a right to sue letter. See Exhibit 3.

         129. While the original complaint only named Defendant BALL, also, as parties thereto

are Defendant RODRIGUEZ, Defendants JOHN DOEs, and Defendant PLATINUM.

         130. While the failure to specify a named party in a CCRD complaint may preclude them

from being named as a party defendant in a subsequent civil rights law suit (Bank v. Allied Jewish

Federation of Colorado, 4 F. Supp.3d 1238 (D. Colo. 2013)), any charge of discrimination is to

be liberally construed to include other parties that would be deemed liable in any related civil rights

action, where the complainant’s originally filed complaint was done without the advice of counsel.

Romero v. Union Pacific RR, 615 F.2d 1303, 1310-11 (10th Cir. 1980).

         131. The Plaintiff herein filed her CCRD complaint pro se.

         132. Plaintiff re-alleges herein the underlying facts as set forth supra, and as related to

Cause of Action First through Cause of action Fifth.



Law Office of Bernard V. Kleinman, PLLC                                                    23 | P a g e
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 24 of 31




         133. This reprehensible discriminatory conduct by all named Defendants — BALL,

RODRIGUEZ, PLATINUM, and JOHN DOEs — demonstrates actionable malice and

discriminatory behavior, for which damages pursuant to C.R.S. § 24-34-405(c), (d), and 42 U.S.C.

§ 1981a, equal to lost wages and other compensatory damages,, plus interest, in an amount of not

less than $5,000,000, and punitive and exemplary damages in an amount of not more than

$10,000,000.00.

                      AS AND FOR A SEVENTH CAUSE OF ACTION
           Breach of Contract — as Against Defendants BALL METALPACK, JANICE
                     RODRIGUEZ, PLATINUM EQUITY, and JOHN DOEs

         134. Plaintiff TANIQUE WRIGHT repeats and re-iterates ¶¶ 1 through 133, as if set forth

herein, and incorporates herein all such facts and allegations as are relevant herein to this Seventh

Cause of Action.

         135. An employee who is hired for an indefinite period is presumed to be an at-will

employee, but this presumption may be rebutted. Continental Air Lines, Inc. v. Keenan, 731 P.2d

708, 711-12 (Colo. 1987). The Plaintiff herein was such an employee.

         136. Policies contained in an employee manual or in policy statements, or Rules of

Conduct, for example, may, under certain circumstances, serve as the basis for a claim of breach

of contract, and may be asserted by employees such as the Plaintiff WRIGHT. Adams County

School Dist. No. 50 v. Dickey, 791 P.2d 688, 694 (Colo. 1990).

         137. Written disclaimers that the manual or policy may not be deemed to create a

contractual relationship may preclude an action for breach of contract (Evenson v. Colo. Farm

Bureau Mut. Ins. Co., 879 P.2d 402, 409 (Colo. App. 1993)), however, no such disclaimers appear

in the proffered bases for breach. See Exhibit 9, Exhibit 10.




Law Office of Bernard V. Kleinman, PLLC                                                  24 | P a g e
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 25 of 31




         138. The website for Defendant BALL contains a “Business Ethics Code of Conduct”.

This Code of Conduct specifically provides that the company “do[es] not tolerate . . .

discrimination . . . with respect to . . . race . . . age . . . disability . . .” See Exhibit 9.

         139. Defendant PLATINUM states, in its published “Business Practices”, the following:

                 We try to create value in any acquisition we make by focusing on stability
             throughout the transaction. We protect vital business interests like customers,
             employees, and the supply chain; . . .
        https://www.platinumequity.com/practices

         140. Plaintiff WRIGHT could reasonably rely upon these contractual promises that she

would be treated fairly and honestly without being the victim of discriminatory conduct based

upon race or age by Defendant BALL and Defendant PLATINUM.

         141. Plaintiff WRIGHT could reasonably have anticipated that her supervisor, Defendant

RODRIGUEZ, and those who carried out her orders (Defendants JOHN DOEs) would similarly

act in accordance with the stated binding policies of both Defendant BALL and Defendant

PLATINUM.

         142. As laid out in Causes of Action One through Five, and as re-alleged herein, the named

Defendants have breached their contractual obligation to the Plaintiff WRIGHT.

         143. In addition thereto, Defendant BALL breached its contractual obligation under its

published Policies on Leaves and Absences. See Exhibit 10.

         144. The aforementioned Policy provided for both Short Term Disability (see ¶ 3), and

Unpaid Leaves and Absences (see pp. 7-8).

         145. The Plaintiff was a qualified employee, and the Defendant breached its contractual

obligation by failing to provide wither of these benefits to the Plaintiff.




Law Office of Bernard V. Kleinman, PLLC                                                            25 | P a g e
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 26 of 31




         146. The Plaintiff has been damaged and is entitled to damages in the form of lost wages

and other compensatory damages, in the amount of $5,000,000.00, and is entitled to both punitive

and exemplary damages in an amount of no more than $10,000,000.00.

                        AS AND FOR AN EIGHTH CAUSE OF ACTION
              Fraud in the Inducement — as Against Defendants BALL METALPACK,
                 JANICE RODRIGUEZ, PLATINUM EQUITY, and JOHN DOEs

         147. Plaintiff TANIQUE WRIGHT repeats and re-iterates ¶¶ 1 through 146, as if set forth

herein, and incorporates herein all such facts and allegations as are relevant herein to this Eighth

Cause of Action.

         148. In an action for fraudulent inducement, it is necessary to establish that (1) there was

a material misrepresentation of a material fact, (2) there was reliance upon that material fact, (3)

reliance upon that representation was reasonable, and (4) that reliance resulted in damages to the

plaintiff. J.A. Walker Co. v. Cambria Corp., 159 P.3d 126, 132 (Colo. 2007).

         149. As an inducement to take the position with Defendant BALL, the Plaintiff was assured

that there would be no issues regarding her being able to work remotely, especially in consideration

of the weather issues. See ¶¶ 36, 37, supra.

         150. The Plaintiff further relied upon the reasonable assumption that her treatment by her

employer, Defendant BALL, and her immediate supervisor, Defendant RODRIGUEZ, would not

be disparate from other employees due to her race or age.

         151. The Plaintiff reasonably relied upon these representations in making her decision to

decline offers from two other companies, and chose to take the offer from Defendant BALL.

         152. However, at the first sign of bad weather, which precluded her from traveling to work

(see ¶¶ 38 through 41, and n. 1 supra), she was berated by Defendant RODRIGUEZ.

         153. Furthermore, as set forth passim, the Plaintiff was the intentional and malicious target

of discriminatory conduct based both upon her race and age, and as perpetrated by Defendant
Law Office of Bernard V. Kleinman, PLLC                                                    26 | P a g e
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 27 of 31




BALL, its agent Defendant RODRIGUEZ, acting with the complicity of Defendants JOHN DOEs,

and with the knowing acquiescence of Defendant PLATINUM.

         154. The Plaintiff has been damaged and is entitled to damages in the form of lost wages

and other compensatory damages, in the amount of $5,000,000.00, and is entitled to both punitive

and exemplary damages in an amount of no more than $10,000,000.00.

                         AS AND FOR A NINTH CAUSE OF ACTION
             Civil Conspiracy — as Against Defendants BALL METALPACK, JANICE
                              RODRIGUEZ, PLATINUM EQUITY,
                                        and JOHN DOEs

         155. Plaintiff TANIQUE WRIGHT repeats and re-iterates ¶¶ 1 through 154, as if set forth

herein, and incorporates herein all such facts and allegations as are relevant herein to this Ninth

Cause of Action.

         156. A civil conspiracy is established where (1) there exists an object to be accomplished;

(2) an agreement by two or more persons on a course of action to accomplish that object; (3) in

furtherance of that course of action, one or more unlawful acts which were performed to

accomplish a lawful or unlawful goal, or one or more lawful acts which were performed to

accomplish an unlawful goal; and (4) damages to the plaintiff as a proximate result. Magin v.

DVCO Fuel Sys., Inc., 981 P.2d 673 (Colo. App. 1999).

         157. While tortious liability for civil conspiracy is not actionable, per se, it is a derivative

cause of action based upon “the actual damages resulting from the acts done in furtherance of the

conspiracy.” Resolution Trust Corp. v. Heiserman, 898 P.2d 1049, 1055 (Colo. 1995). All that is

necessary is “that the underlying acts be unlawful [to] create an independent cause of action.”

Double Oak Constr., L.L.C. v. Cornerstone Develop. Int’l, L.L.C., 97 P.3d 140, 146 (Colo. App.

2004).



Law Office of Bernard V. Kleinman, PLLC                                                      27 | P a g e
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 28 of 31




         158. As set forth above, the defendant BALL, acting through the personage of Defendant

RODRIGUEZ, and assisted by the unlawful discriminatory actions of, among others, Colleen

Callies, and other Defendants JOHN DOEs, did violate the civil rights of the named Plaintiff in

their actions taken in violation of the ADEA/OWBPA, the 1866 Civil Rights Act, Tit. VII of the

Civil Rights Act of 1964, and the other enumerated statutes, both federal and state, above.

         159. The “object to be accomplished”, being the termination of an African-American

female over the age of forty; the agreement being that between Defendant RODRIGUEZ, and

Colleen Callie, and other un-named Defendants JOHN DOEs; said agreement to terminate the

Plaintiff in violation of the cited statutes above; and the damages of loss of income.

         160. This tortious conduct has damaged the named Plaintiff in the amount of $5,000,000,

and the award of punitive or exemplary damages in an amount to be determined at trial, but, in no

event more than $10,000,000.00.

         WHEREFORE, Plaintiff, TANIQUE WRIGHT, by and through her attorney of record,

respectfully request judgment as follows,

         (a) In favor of Plaintiff and against Defendants;

         (b) On the First Cause of Action, damages in the amount of five million dollars

             ($5,000,000.00);

         (c) On the Second Cause of Action, damages in the amount of five million dollars

             ($5,000,000.00);

         (d) On the Third Cause of Action, damages in the amount of five million dollars

             ($5,000,000.00);

         (e) On the Fourth Cause of Action, damages in the amount of five million dollars

             ($5,000,000.00);


Law Office of Bernard V. Kleinman, PLLC                                                  28 | P a g e
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 29 of 31




         (f) On the Fifth Cause of Action, damages in the amount of five million dollars

             ($5,000,000.00);

         (g) On the Sixth Cause of Action, damages in the amount of five million dollars

             ($5,000,000.00);

         (h) On the Seventh Cause of Action, damages in the amount of five million dollars

             ($5,000,000.00);

         (i) On the Eighth Cause of Action, damages in the amount of five million dollars

             ($5,000,000.00);

         (j) On the Ninth Cause of Action, damages in the amount of five million dollars

             ($5,000,000.00);

         (k) Punitive and exemplary damages, where applicable, in an amount of no more than ten

             million dollars ($10,000,000.00), pursuant, but not limited, to 42 U.S.C. § 1981a(a)(1),

             (a)(2), (b)(1);

         (l) Pre-judgment and post-judgment interest, at the statutory rate of interest of eight percent

             per annum compounded annually (C.R.S. § 5-12-102(1)(b), (2));

         (m) Award of Attorney fees, and costs and disbursements, as set forth under 42 U.S.C. §

             1988; and,

         (n) For such other and further relief as this Court shall deem just, proper and equitable.




Law Office of Bernard V. Kleinman, PLLC                                                     29 | P a g e
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 30 of 31




                                          DEMAND FOR JURY TRIAL

         Plaintiff hereby demands a trial by jury on all issues. F.R.Civ.P. Rule 38.

                                             By her Attorney:
                                             LAW OFFICE OF BERNARD V. KLEINMAN, PLLC

                                             By /s/ Bernard V. Kleinman
                                                Bernard V. Kleinman, Esq.
                                                108 Village Square
                                                Suite 313
                                                Somers, NY 10589-2305
                                                Tel. 914.644.6660
                                                Fax 914.694.1647
                                                attrnylwyr@yahoo.com

Dated: August 11, 2020




Law Office of Bernard V. Kleinman, PLLC                                                30 | P a g e
108 Village Sq., Ste. 313
Somers, NY 10589-2305
Case 1:20-cv-02393-KMT Document 1 Filed 08/11/20 USDC Colorado Page 31 of 31




                                                          VERIUCATION

   State   of
   County        of                                                ,t J.:


             I    am Tanique Wright, the named Plaintiff herein, and        I do solemnly affirm, under the laws

   against perjury of the United States, that I have read thc annexed Complaint, and that all matters

   are true to my knowledge, and as to those matters stated to be based upon information and belief,

   as to those matters,               I believe them to be true.


                                                                            UtrllIi

   Sworn to Before Me
   This    ?bfiay              otAugust 2020




             Public



                 YOLAND A B WALKER
                     Not.rY Public
                   Slaio ol Colorado
                 Norary lD      *    I991 4016961
         MyCommission Erpir€s 08-l E-2022




  Law Ofice of Bertad V. Klatnon,             PIIC                                                  3lll,age
   108 Vtllage   fu.,   Sre.   3)3
  Sonen,   Nl    10589-2305
